Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 1 of 24

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

EDDIE PANTOJAS,
Plaintiff, CIVIL ACTION
vs. NO:

QUAKER CITY MOTOR PARTS CO.,

Def`endant. JURY TRIAL DEMANDED

 

 

DEFENDANT, GENUINE PARTS COMPANY’S (INCORRECTLY IDENTIFIED
AS “OUAKER CITY MOTOR PARTS CO.”`) NOTICE OF REMOVAL

Def`endant, Genuine Parts Company (Incorrectly identified as “Quaker City Motor Parts
Co.” and hereinafter “Defendant”), by and through its counsel, Fowler Hirtzel McNulty &
Spaulding, LLP, hereby files this notice of` remove of the above-captioned action, Which is
presently in the Philadelphia County Court of Common Pleas, Civil Action October Term 2017,
No. 0746, pursuant to 28 U.S.C. § 1332, and 28 U.S.C. § 1441 et seq., and in support thereof, avers
as follows:

l. Plaintif`f`, Eddie Pantojas (hereinafter “Plaintiff”), claims he was injured after
tripping and falling in the rear parking area on Defendant’s property on January 26, 2017, and filed
the instant lawsuit.

2. Plaintif`f initiated suit by filing a Complaint in the Court of Common Pleas of
Philadelphia County on October 6, 2017. A copy of` the Court of Common Pleas’ docket is attached
as Exhibit “A”.

3. A copy of` all pleadings in this matter are attached as follows:

- Exhibit “B”: PlaintifF s Complaint; and
- Exhibit “C”: Entry of` Appearance and Jury Demand on behalf of Genuine Parts

Company (Incorrectly identified as “Quaker City Motor Parts Co”).

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 2 of 24

I. PARTIES
4. Plaintiff resides in Philadelphia, Pennsylvania. See Ex. B. 11 1.
5. Genuine Parts Company, is a Georgia corporation with its principal place of
business in Atlanta, Georgia.
6. Genuine Parts Company was a Georgia corporation with its principal place of
business in Atlanta, Georgia, when this action was filed.
7. Genuine Parts Company acquired Quaker City Motor Parts Co. in 2011 and Quaker
City Motor Parts Co. formally merged into Genuine Parts Company on January 1, 2012.
II. BACKGROUND
8. In his Complaint, Plaintiff alleges that he was carrying two boxes in the rear parking
area of Defendant’s premises when his foot came into contact with “the uneven and defective
parking lot surface” which caused him to sustain serious and permanent injuries. See Ex. B. 11 5.
9. Plaintiff alleges that Defendant’s negligence caused: a chondral fracture with a flap
involving the medial aspect of the tibial plateau, symptomatic plica medalis lesion of the tibial
plateau, medial meniscus tear at the femoral insertion, Grade l sprain of the MCL ligament,

arthroscopic surgical resection of the plica and shaving of the articular cartilage, and other injuries.

See Ex. B., 1111.
10. This action was filed as a major jury matter for Which there is no monetary cap on

recovery.
III. LEGAL BASIS FOR REMOVAL
1 l. “[A]ny civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant . . . to the district court of the

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 3 of 24

United States for the district and division embracing the place where such action is pending.” 28

U.S.C. § 1441.

12. “The district courts shall have original jurisdiction of all civil actions where the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between . . . citizens of different States.” 28 U.S.C. § 1332(a)(1).

B. THE CASE IS REMOVABLE BECAUSE DIVERSITY JURISDICTION NOW EXISTS.

13. Diversity jurisdiction is proper where (1) complete diversity exists, and (2) the
amount in controversy exceeds $75,000.00.

14. Typically, diversity jurisdiction must exist at the time an action is commenced,
unless subsequent events trigger removal. See Ramirez v. Vintage Pharms., LLC, 852 F.3d 324,
331 n.3 (3d Cir. 2017).

15. If a subsequent event makes a case removable, the defendant may file a notice of
removal within 30 days after receipt of the document from which it may first be ascertained that
the case is one which is or has become removable 28 U.S.C. § 1446(b)(3).

1. COMPLETE DIVERSITY ExIsTs.

16. F or individuals, “[c]itizenship is synonymous with domicile, and ‘the domicile of

an individual is his true, fixed and permanent home and place of habitation. lt is the place to Which,

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whenever he is absent, he has the intention of returning McCann v. 'George W. Newman
lrrevocable Tr., 458 F.3d 281, 286 (3d Cir. 2006) (quoting Vlcma'is v. Kline, 412 U.S. 441, 454

(1973)).

17. Plaintiff resides in Pennsylvania, and is therefore a citizen of the Commonwealth

of Pennsylvania.

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 4 of 24

18. A corporation is a citizen of the states in which it is incorporated and in which its
principal place of business is located. 28 U.S.C. § 1332(0)(1).

19. Genuine Parts Company is a Georgia corporation and its principal place of business
is in Atlanta, Georgia.

20. Therefore, complete diversity of citizenship under 28 U.S.C. § 1332 exists.

1. THE AMoUNT IN coNTRovERsY ExcLUslvE oF INTEREST AND CosTs
ExCEEDS $75,000.

21. In addition to complete diversity, diversity jurisdiction requires that the amount in
controversy exceed $75,000.00, exclusive of interest and costs. See 28 U.S.C. § 1332(a).

22. When case is removed on the basis of diversity jurisdiction,

the sum demanded in good faith in the initial pleading shall be deemed to be the

amount in controversy, except that the notice of removal may assert the amount in

controversy if the initial pleading seeks . . . a money judgment, but the State
practice either does not permit demand f`or a specific sum or permits recovery of
damages in excess of the amount demanded[.]

28 U.S.C. § 1446(c)(2)(A)(ii).

23. “[R]emoval of the action is proper on the basis of an amount in controversy asserted
under [28 U.S.C. § 1446(c)(2)(A)(ii)] if the district court finds, by the preponderance of the
evidence, that the amount in controversy exceeds” $75,000.00, exclusive of interest and costs (for
purposes of this case). 28 U.S.C. § l446(c)(2)(B).

24. Pennsylvania law prohibits a party from demanding a specific amount of
unliquidated damages. See Pa.R.C.P. No. 1021(b).

25. Accordingly, Genuine Parts Company is entitled to assert the amount in

controversy in this Notice of Removal. See 28 U.S.C. § 1446(c)(2)(A)(ii); Howara' v. Wal-Mart

Supercenter, No. 09-cv-4530, 2009 WL 4362856, 2009 U.S. Dist. LEXIS 112078, at *7-10 (E.D.

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 5 of 24

Pa. Dec. l, 2009) (noting that Rule 1021 (b) allows a defendant to assert the amount in controversy
in its notice of removal).

26. “The amount in controversy is not measured by the low end of an open-ended claim,
but rather by a reasonable reading of the value of the rights being litigated.” Werwinski v. Fora'
Motor Co., 286 F.3d. 661, 666 (3d. Cir. 2002).

27. Further, “a claim may be remanded for lack of subject-matter jurisdiction only
when ‘it . . . appear[s] to a legal certainty that the claim is really for less than the jurisdictional
amount.”’ Lewis v. FCA US LLC, No. 15-2811, 2015 WL 3767521, 2015 U.S. Dist. LEXIS 78214,
at *5 (E.D. Pa. June 17, 2015) (quoting St. Paul Mercury lndem. Co. v. Rea' Cab Co., 303 U.S.
283, 288 (1938));l Howara', 2009 U.S. Dist. LEXIS 112078, at *8 (quoting DiBattista v. Dixon,
No. 09-cv-3086, 2009 WL 2245060, 2009 U.S. Dist. LEXIS 65175, at *4 (E.D. Pa. July 27, 2009))
(“[T]he rule does not require the removing defendant to prove to a legal certainty the plaintiff can
recover $75,000.”).

28. As indicated above, Plaintiff filed his action in the Major Jury Court Program, for
which there is no monetary cap on recovery.

29. Plaintiff claims that he suffered “serious and permanent injuries” to his right knee
consisting of, inter alia, a chondral fracture and a medial meniscus tear resulting in arthroscopic
Surgical resection. See Ex. B., 11 11.

30. Based on the entire Complaint, see Lewis, 2015 U.S. Dist. LEXIS 78214, at *6,
and the harm allegedly suffered by Plaintiff, it is more likely than not that the amount in

controversy is more than $75,000.00, exclusive of interest and costs.

 

l Rea' Cab was superseded in part on other grounds by the J udicial Improvements and Access to
Justice Act of 1988, Pub. L. No. 100-702, Title X, § 1016(b), 102 Stat. 4669 (amending 28
U.S.C. § 1447(c)).

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 6 of 24

31. Because the amount in controversy exceeds $75,000.00 and complete diversity
exists, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a); and removal is therefore
proper.

C. VENUE IN THIS CoURT ls PROPER.

32. Venue is proper in the district court and division thereof which embrace the place
where the state-court action is pending 28 U.S.C. § 144l(a).

33. Philadelphia County is within the Eastern District of Pennsylvania.

34. Therefore, this Court is the proper venue for removal of this action.

D. THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE MET.

35. A notice of removal must be filed within 30 days after receipt of the “initial
pleading setting for the claim for relief upon which such action or proceeding is based[.]” 28 U.S.C.
§ l446(b); see Sikirica v. Nationwia'e lns. Co., 416 F.3d 214, 221-23 (3d Cir. 2005).

36. Here, Plaintiff’ s Complaint was filed in the Court of Common Pleas of Philadelphia
County on October 6, 2017, and the notice of removal herein was filed within 30 days after the
receipt of this initial pleading, and is therefore timely. See 28 U.S.C. § 1446(b)(3).

37. Further, this Notice of Removal is filed well within one year of the commencement
of this action. Cf. 28 U.S.C. § 1446(c)(1) (providing that, generally, a case may not be removed
on the basis of diversity jurisdiction more than one year after commencement of the action).

38. Accordingly, the procedural requirements to remove this matter are met.

IV. JURY TRIAL DEMAND
39. Defendant demanded a jury trial prior to removal. See Ex. C.

40. Accordingly, it is not necessary to renew the jury-trial demand. See Fed.R.Civ.P.

81(¢)(3)(A).

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 7 of 24

WHEREFORE, under 28 U.S.C. § 1441, Defendant, Geuine Parts Company (improperly

identified as “Quaker City Motor Parts Co.”), respectfully gives notice that the action now pending

against them in the Court of Common Pleas of Philadelphia County, Pennsylvania is removed to

this Honorable Court.

Dated: October 26, 2017

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Respectf`ully submitted,

FOWLER HIRTZEL MCNULTY & SPAULDING,

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ANDREWJ. SPAULDING, ESQUIRE

PA ID #: 88096

MICHAEL I. SCHWARTZ, ESQUIRE

PA ID #: 316532

Fowler, Hirtzel, McNulty & Spaulding, LLP
2000 Market Street, Suite 550

Philadelphia, PA 19103

P: 215-789-4848

F: 215-613-4994

E: aspaulding@fhmslaw.com

E: mschwartz@fhmslaw.com

Attomeys for Defendant, Genuine Parts
Company (Incorrectly identified as “Quaker
City Motor Parts Co.”)

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 8 of 24

CERTIFICATE OF SERVICE

I, Andrew J. Spaulding, Esquire, attorney for Defendant, Genuine Parts Company
(improperly identified as “Quaker City Motor Parts Co.”), do hereby certify that a true and correct
copy of the foregoing Notice Removal was served via first-class mail on this 24th Day of October,

2017 to the following:

Charles S. Cooper, Esquire
Counsel for Plaintiff
Cooper & Schall PC
2000 Market Street
Suite 1400
Philadelphia PA, 19103

c(:/’_l__\--"}:;-/ / ms

Andrew J./Spaulding, Esq.

Michael I. Schwartz, Esq.

Attomey for Defendant Genuine Parts
Company (Incorrectly identified as “Quaker
City Motor Parts Co.”)

 

Date: October 26 2017

 

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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 9 of 24

EXHIBIT A

10/25/2017

The Philadelphia Courts

 

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Case Descrigtion

Case |D:

171000746

Case Caption: PANTOJAS VS QUAKER C|TY |\/|OTOR PARTS CO.

Fi|ing Date: Friday , October 06th, 2017

Court: |V|AJOR JURY-EXPED|TED

Location: City Ha||

Jury: JURY

Case Type: PRE|\/||SES L|AB|L|TY, SL|P/FALL
Status: WA|T|NG TO L|ST CASE l\/|Gl\/|T CONF

Re|ated Cases

No related cases were found.

Case Event Schedu|e

No case events Were found.

Case motions

No case motions Were found.

Case Parties

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Expn
Seq # Assoc Date Type Name
1 ATTORNEY FOR COOPER, CHARLES S
PLA|NT|FF
Address: COOPER & SCHALL PC A|iases: none
2000 MARKET STREET
SU|TE 1400
PH|LADELPH|A PA 19103
(215)561-3313
2 _ f _ _ _ 1 _ _ _ __F{An\ltn=l= ______ l_>¢il\Foj/As, EDD|_E
Address: 4323 FRANKL|N ST A|iases: none
PH|LADELPH|A PA 19140
3 5 DEFENDANT QUAKER C|TY |V|OTOR
PARTS CO
Address: 2801 L||\/|EK|LN P|KE Aliases: none

 

 

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TEAM LEADER

 

NEvv, ;RNOLD_L

 

Address:

606 C|TY HALL
PH|LADELPH|A PA 19107
(215)686-7260

A|iases:

none

 

 

DEFENDANT

ATTORNEY FOR

 

J

SPAULD|NG, ANDREW

 

(215)789-4841

FOWLER H|RTZEL
MCNULTY

& SPAULD|NG, LLP

2000 MARKET STREET,
STE. 550

PH|LADELPH|A PA19103

A|iases:

none

 

 

6 !

DEFENDANT

ATTORN EY FOR

 

sCvaARTz, MchAEL_

 

 

Address:

 

 

(215)789-4843

FOWLER H|RTZEL
MCNULTY SPAULD
2000 |\/|ARKET ST
SU|TE 550
PH|LADELPH|A PA19103

 

A|iases:

none

 

 

 

 

Docket Entries

 

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Disposition
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06-OCT-20
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Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 13 of 24

EXHIBIT B

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 14 of 24

Court of Common Pleas of Philadelphia County
Tn`al Division

 

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Civil Cover Sheet
PLA|NT¢FF'S NAME

EDDI E PANTOJAS,

DEFENDANT'S NAME
QUAKER CITY MOTOR PARTS CO.

 

PLA|NT|FF'S AouREss
4323 FRANKLIN STREET

PHILADELPHIA PA 19140

DEFENDANT's ADDRESS__ _ _
2 8 0 l LIMEKILN PIKE

GLENSIDE PA 19038

 

PLA|NT|FF'S NAME

DEFENDANT'S NAME

 

PLA|NT|FF'S ADDRESS

DEFENDANTS ADDRESS

 

PLA|NT|FF'S NAME

DEFENDANT'S NAME

 

PLA|NT|FF'S ADDRESS

 

DEFENDANT'S ADDRESS

 

TOTAL NUMBER OF PLA|NT|FFS TOTAL NUMBER OF DEFENDANTS

 

 

COMMENCEMENT OF ACT lON
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RELATED PENO|NG CA§E§(-£l§TTBY CASE CAF'T|ON AND DOCK|§`|TNUMBER)

IS CASE SUBJECT TO
COORD|NAT|ON ORDER?

VES NO

 

 

ro THE PRoTHoNoTARY;

Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: Y_QIEMU

Papers may be served at the address set forth below.

 

 

NAME oF PLA|NT|FF's/PET|TloNER's/APPELLANT's ATToRNEY
CHARLES S . COOPER

 

FAxNuMaaR
121512»16-0693

PHoNENuMaeR
(215)561-3313

 

ADDRESS

COOPER & SCHALL PC
2000 MARKET STREET
SUITE 1400
PHILADELPHIA PA 19103

 

SUPREME COURT |DENT|F|CAT|ON NO.
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charlescooper@cooperechallandlevy . com

 

 

 

slGNATuRE OF FlLlNe ArroRNEY on PARTY
CHARLES COOPER

 

 

DATE SUBM|TTED

Frj_day, October 06, 2017, 10:50 am

 

 

PREL|M|NARY 00`1`>\7 (For Appmval by the PréE`o?oiary clerk)

CaS€ 2217-CV-O4809-.]S

COOPER & SCHALL, P.C.
By: Charles S, Cooper, Esquire
Atty. l.D. No, 46568

2000 Market Street

Suite 1400

Philadelphia, PA 19103
(215)561-3313

EDDIE PANTOJAS
4323 Franklin Street
Philadelphia, Pa. 19140
Plaintiff

V.

QUAKER CITY MOTOR PARTS CO.
2801 Limekiln Pike
Glenside, PA. 19038-2204

Defendant

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Document 1 Filed 10/26/17 Page 15 of 24

 

C()URT OF COMMON PLEAS

PHILADELPHIA COUNTY
OCTOBER TERM, 2017

NO.

CIVIL ACTION COMPLAIN'I`

 

NOT|CE

You have been sued in court. lf you wish to
defend against the claims set forth in the
following pages, you must take action within
twenty (20) days after this Complaint & Notice are
served, by entering a written appearance
personally or by attorney and filing in writing with
the court your defenses or objections to the
claims set forth against you. You are warned that
if you fail to do so the case may proceed without
you and a judgment may be entered against you
by the Court without further notice for any money
claimed in the complaint or for any other claim or
relief requested by the pialntiff. You may lose
money or property or other rights important to
you.

YOU SHOULD TAKE TH|S PAPER TO YOUR LAWYER AT
ONCE. |F YOU DD NOT HAVE A LAW¥ER OR CANNDT
AFFORD ONE, GO TO OR TELEPHONE THE OFFlCE SET
FORTH BELDW TO FIND OUTWHERE YOU CAN GET LEGAL
HELP.

PHILADELPHIA COUNTY BAR ASSOC|AT!ON
Lawyer Referral & information Ser\/Ice
One Reading Center, 1101 Market Streets, Philadelphia,
Pennsylvania 19107
(215) 233-1701

 

AV|SO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas
en las paginas siguientes, usted tiene veinte (20)
dias dep|azo al partir dela fecha de la demanda y
la notificacion. Hace fa|ta asentar una
comparencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sue
defensas o sue objeciones a las demandas en
contra de s persona. Sea avisado que si used no
se defiende, la corte tamara medidas y puede
continuar la demanda en contra suya sin prev|o
aviso o notificacion. Ademas, la corte puede
decidlr a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta
demanda. Usted puede perder u otros derechos
importantes para usted.

LLEVE ESTSASS DEMANDA A UN
ABOGADO INMEDIA'I`AMENTE. SI NO TlENE
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Servico De Referencia E lnformacion Lega|
One Reading Center, 1101 Market Streets, Flladelfia,
Pennsylvania 19107
(2£,) 233-1701

 

Case lD: 171000746

 

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 16 of 24

COOPER & SCHALL, P.C.

By: Charles S. Cooper, Esquire Attorney for Plaintiff
Atty. I.D. No. 46568

2000 Market Street

Suite 1400

Philadelphia, PA 19103

(215)561-3313

EDDIE PANTOJAS : COURT OF COMMON PLEAS
4323 Franldin Street :
Philadelphia, Pa. 19140 :

Plaintiff : PHILADELPHIA COUNTY

v. : OCTOBER TERM, 2017
QUAKER CITY MOTOR PARTS CO. : NO.
2801 Limekiln Pilce :
Glenside, PA. 1903 8-2204 :
Defendant :

CIVIL ACTION COMPLAINT

Plaintiff, Edddie Pantojas, files this Civil Action Complaint against Defendant, Quaker
City Motor Parts and in support hereof represents as follows:

1. Plaintiff, Eddie Pantojas is an adult individual, residing at the above-captioned
address

2. Defendant, Quaker City Motor Parts Co. is a Corporation operating and doing
business under the laws of the State of Delaware and is the owner of the premises located at the
above-captioned address

3. Defendant Quaker City Motor Parts Co. regularly conducts business in the City of
Philadelphia and/or owns properties throughout the City of Philadelphia

4. 011 or about January 26, 2017 Defendant owned, possessed and controlled and
exercised the right of control with respect to the premises including the rear parking area located
at 2801 Li;rnekiln Pike, Glenside, PA. 1903 8-2204.

5. On or about January 26, 2017 Plaintiff was lawfully walking on the Defendant’s

Case ID: 171000746

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 17 of 24

premises in the aforesaid rear parking area While carrying two boxes When his foot came into
contact with the uneven and defective parking lot surface which caused him to lose his balance,
trip and stumble sustaining serious and permanent injuries more fully set forth herein. (Attached
hereto and Marked as Exhibit “A” is a photograph of the accident scene including the defective
parking lot surface which caused plaintiff to trip and stumble).

6. At all times relevant hereto, Defendant knew or should have known that the
aforementioned parking lot was defective and dangerous and posed a serious risk of harm to
persons such as Plaintiff

7. At all times relevant hereto, Plaintiff, relied upon the fact that Defendant would
maintain the property in a safe manner and Defendants’ failure to maintain the property as
aforesaid increased the risk of harm to the Plaintiff`.

8. At all times material hereto, Defendant acted by and through their agents (actual,
apparent or ostensible), servants, workrnen, employees and/or officers, all of whom were then and
there acting within the course and scope of their duties, agency, employment or authority for
Defendant

9. This accident Was caused solely from the negligence, carelessness and/or
recklessness of Defendant and was in no manner whatsoever duel to any act of negligence on the
part of Plaintiff

10. The aforesaid accident Was caused by the negligence, carelessness and/or
recklessness of Defendant, acting as aforesaid, which negligence carelessness and/or recklessness
consisted, in_t_g_r_gl_ig, ofthe following

(a) failing to repair the defective condition as described above;

(b) failing to properly, completely and thoroughly inspect the property at

regular intervals ;
(c) failing to promptly and carefully post Waming signs, install barricades

Case ID: 171000746

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 18 of 24

and/or post notices to warn individuals of the defective condition;

(d) allowing the said hazardous and dangerous condition to exist once oreated;

(e) failing to make timely and proper repairs upon said premises ;

(t) failing to inspect and failing to establish a policy of inspection;

(B) failing to repave, construct and repair the defective condition;

(h) failing to hire a contractor and/or repair person to fix the defective condition,l

(i) otherwise acting in a manner that was negligent, careless and reckless at law and in
fact all of which a reasonable person Would have known or in the exercise of
reasonable care should have known caused an unreasonable risk of harm to the
public and more particularly to the plaintiff herein;

(j) violating applicable ordinances and property maintenance codes for the State of
Pennsylvania as well as such other statutes and case law governing the maintenance
of property including but not limited to ASTM F1637, IPMC 302.3;

(k) such other acts of negligence, carelessness, and/or recklessness as may be adduced
through discovery or at trial.

11. As the direct and proximate result of Defendant’s negligence, Plaintiff sustained
severe and multiple injuries, both internal and external, to and about his body, and extremities
and/or the aggravation of pre-existing conditions thereto, if any, with injury to his bones, joints,
nerves and nervous system, including, but not limited to a right knee injury including: chondral
fracture with a flap involving the medial aspect of the tibial plateau, symptomatic plica inedalis
lesion of the tibial plateau, medial meniscus tear at the femoral insertion, Grade l sprain of the
MCL ligament, artln‘oscopic surgical resection of the plica and shaving of the articular cartilage,
severe aches, pains, mental anxiety and anguish, severe shock to his entire nervous system,
exacerbation of all known and unknown pre-existing medical conditions, if any, and other injuries
that will represent a permanent and substantial impairment of Plaintiff’s bodily functioning that
substantially impairs Plaintift’s ability to perform his daily life activities, and the full extent of
Which is not yet known.

12. As a further result of the said accident, Plaintiff has suffered severe pain, mental
anguish, humiliation, and embarrassment, and he Will continue to suffer same for an indefinite

period of time in the future

Case lD: 171000746

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 19 of 24

13. As a further result of the said accident, Plaintiff has and will probably in the future,
be obliged to receive and undergo medical attention, which was or will be reasonable and necessary
arising from the aforesaid accident and Will otherwise incur various expenditures for the injuries
he has suffered.

14. As a further result of the said accident, Plaintiff has incurred medical expenses that
were reasonable, necessary, and causally related to the aforesaid accident as a result of the injuries

he sustained in this accident

15. As a further result of the said accident, Plaintiff has been unable to attend to his
daily chores, duties, and occupations, and he will be unable to do so for an indefinite time in the
future, all to his great financial detriment and loss.

16. As a further result of the said accident, Plaintiff has and will suffer severe loss of
his earnings and/or impairment of his earning capacity.

WHEREFORE, Eddie Pantojas, demands judgment against Defendant Quaker State

Motor Parts Co. for damages, together with interest and cost of suit.

COOPER & SCHALL, P.C.

 

 

Dated: /p////';L__

Case ID: 171000746

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 20 of 24

V__E.B._M__M

L”\>O\i¢' am §Al__. am the Plaintiff in the herein matter and certify
that the statements set forth in the attached Complaint, Pleading, Motlon, and/or Answers
to [nterrogatories. Request to Produce Documents, and/or Request for Admissions are
true and correct to the best of my information, knowledge, and belief. I further
understand that all statements set forth herein are subject to the prohibitions set forth in

18 Pa. C.S.A. § 4904, relating to unsworn falsification to authorities

’ / //

DATE: /J/_’A¢/?

Case ID: 17 l 000741‘;

 

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 21 of 24

EXHIBIT A

Case ID: 171000746

17-cv-O4809-.]S Documentl Filed10/26/17 Page 22 of 24

Case 2

 

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Case ID

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 23 of 24

EXHIBIT C

Case 2:17-cV-O4809-.]S Document 1 Filed 10/26/17 Page 24 of 24

FOWLER HIRTZEL MCNULTY & ATTORNEYS FOR DEFENDANT,
SPAULDING, LLP GENUINE PARTS COMPANY

BY: ANDREW J. SPAULDING, ESQUIRE (INCORRECTLY IDENTIFIED AS

I.D. #:88096 “QUAKER CITY MOTOR PARTS CO.”)

E-MAIL: ASPAULDING@FHMSLAW.COM
BY: MICHAEL I. SCHWARTZ, ESQUIRE
I.D. #:316532

E-MAIL: MSCHWARTZ@FHMSLAW.COM
2000 MARKET STREET, SUITE 550
PHILADELPHIA, PA 19103

215-789-4848

 

EDDIE PANTOJAS IN THE COURT OF COMMON PLEAS
_ PHILADELPHIA COUNTY
Plaintiff, CIVIL ACTION - LAW
V' OCTOBER TERM, 2017
QUAKER CITY MOTOR PARTS CO. NO_ 0746
Defendant.

 

 

ENTRY OF APPEARANCE AND JURY TRIAL DEMAND
TO THE PROTHONOTARY:

Kindly enter our appearance and a demand for a jury trial by jury of twelve (12) on
behalf of Defendant, Genuine Parts Company (incorrectly identified as “Quaker City Motor Parts
Co.”), in connection with this matter.

FOWLER HIRTZEL MCNULTY &
SPAULDING, LLP

 

 

DATED: 10/24/17 ANDREW J. SPAULDING, ESQ.
MICHAEL I. SCHWARTZ, ESQ.
Attorneys for Defendant,
Genuine Parts Company
(incorrectly identified as “Quaker
City Motor Parts Co.”)

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